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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




In re Signet Jewelers Limited                                Case No. 16-CV-6728 (CM)
Securities Litigation




                              CIVIL CASE MANAGEMENT PLAN

McMahon, C.J.:

1.     This case is to be tried to a jury.

2.     Discovery pursuant to Fed. R. Civ. P. 26(a) shall be exchanged by January 25, 2019.

3.    Defendants shall answer the Fifth Amended Class Action Complaint by February 15,
2019.

4.     No additional parties may be joined after March 1, 2019.

5.       The following deadlines shall apply to Lead Plaintiff’s motion to certify the putative class
in this action:

       a.      Lead Plaintiff shall move to certify the class by March 15, 2019.

       b.      Defendants shall file their opposition, if any, by June 14, 2019.

       c.      Lead Plaintiff shall file its reply, if any, by July 26, 2019.

6.     Documents shall be produced on a rolling basis. Production of documents responsive to
requests served by December 21, 2018 shall be complete by August 16, 2019.

7.     No pleading may be amended after August 16, 2019.

8.     All fact discovery (including depositions) must be concluded by January 17, 2020.

9.     Expert discovery (including expert depositions) must be completed by April 17, 2020.

       a.      The parties shall identify expert witnesses on issues for which they have the
               burden of proof by January 17, 2020.

       b.      Reports offered by expert witnesses for all parties on issues for which they have
               the burden of proof shall be submitted by February 7, 2020.
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       c.      Rebuttal expert reports shall be submitted by March 6, 2020.

       d.      Reply expert reports, if any, shall be submitted by March 20, 2020.

10.     Judge McMahon’s rules governing electronic discovery are automatically in force in this
case and can be found at http://nysd.uscourts.gov/judge/Mcmahon. The parties must comply with
those rules unless they supersede it with a consent order.

11.    Discovery disputes in this case will be resolved by the assigned Magistrate Judge, who is
Judge Ronald L. Ellis.

       a.      The first time there is a discovery dispute that counsel cannot resolve on their
               own, file a letter to Chambers via ECF and ask for an order of reference to the
               Magistrate Judge for discovery supervision. Thereafter, go directly to the
               Magistrate Judge for resolution of discovery disputes; do not contact Judge
               McMahon.

       b.      Discovery disputes do not result in any extension of the discovery deadline or
               trial-ready date, and Judge McMahon must approve any extension of the
               discovery deadline in non-pro se cases.

       c.      The Magistrate Judge cannot change discovery deadlines unless you agree to
               transfer the case to the Magistrate Judge for all purposes. Judge McMahon
               does not routinely grant extensions so counsel are warned that it they wait until
               the last minute to bring discovery disputes to the attention of the Magistrate
               Judge, they may find themselves precluded from taking discovery because they
               have run out of time.

12.    The parties may at any time consent to have this case tried before the assigned Magistrate
Judge pursuant to 28 U.S.C. § 636(c).

13.     The following deadlines shall apply to any motions for summary judgment filed by any
party to this case:

       a.      Any motion for summary judgment, if any, shall be filed by March 27, 2020.

       b.      Any opposition to any motion for summary judgment, if any, shall be filed by
               May 8, 2020.

       c.      Any reply in support of a motion for summary judgment, if any, shall be filed by
               May 29, 2020.

14.    A joint pretrial order in the form prescribed in Judge McMahon’s Individual Rules,
together with all other pretrial submissions required by those rules (not including in limine
motions), shall be submitted on or before June 26, 2020.

       a.      Following submission of the joint pretrial order, counsel will be notified of the
               date of the final pretrial conference.
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       b.     In limine motions must be filed within five days of receiving notice of the final
              pretrial conference; responses to in limine motions are due five days after the
              motions are made. Cases may be called for trial at any time following the final
              pretrial conference.

       c.     For bench trials, see Judge McMahon’s special rules for bench trials in the
              Individual Rules.

15.      No motion for summary judgment may be served after the date the pretrial order is due.
The filing of a motion for summary judgment does not relieve the parties of the obligation
to file the pretrial order and other pretrial submissions on the assigned date.

16.     This scheduling order may be altered or amended only on a showing of good cause that is
not foreseeable at the time this order is entered. Counsel should not assume that extensions
will be granted as a matter of routine.

Dated: January 3, 2019

       New York, New York


Upon consent of the parties:
[signatures of all counsel]

 /s/ John Rizio-Hamilton                               /s/ Joseph S. Allerhand

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Counsel for Lead Plaintiff                            Counsel for Defendants


                                                       SO ORDERED:


                                                       Hon. Colleen McMahon
                                                       Chief U.S. District Judge




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